
55 So.3d 684 (2011)
R.M.F., Appellant,
v.
D.C., Appellee.
No. 2D10-250.
District Court of Appeal of Florida, Second District.
February 25, 2011.
Kathy C. George of Law Offices of Kathy C. George, Dunedin, for Appellant.
Vitas J. Lukas of Bouldin &amp; Associates, P.A., St. Petersburg, for Appellee.
SILBERMAN, Judge.
R.M.F., the Father, seeks review of a final judgment of paternity and challenges the award of attorney's fees to D.C., the Mother, and the visitation schedule set forth therein. The lack of a trial transcript precludes this court from reviewing the sufficiency of the evidence to support the Mother's entitlement to attorney's fees and the visitation schedule. See Smith v. Smith, 39 So.3d 458, 459 (Fla. 2d DCA 2010). However, we reverse that portion of the final judgment awarding attorney's fees because the final judgment does not contain any findings justifying the amount of the award. See Macarty v. Macarty, 29 So.3d 434, 435 (Fla. 2d DCA 2010).
Affirmed in part, reversed in part, and remanded.
CASANUEVA, C.J., and WHATLEY, J., Concur.
